Case 4:07-cv-05944-JST Document 1660-18 Filed 04/25/13 Page 1 of 7

Exhibit 62 —
Case 4:07-cv-05944-JST Document 1660-18 Filed 04/25/13 Page 2 of 7

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

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In Re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

Plaintiff,
Case No.
07-5944 Sc
MDL No. 1917

This Document Relates to:

ALL ACTIONS,

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VIDEOTAPED DEPOSITION OF GARY HANSON

FRIDAY, MAY 4, 2012

REPORTER: BALINDA DUNLAP, CSR 10710, RPR, CRR, RMR

Gary Hanson

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14] Exhibit 131. This is another set of photos that

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Case 4:07-cv-05944-JST Document 1660-18 Filed 04/25/13 Page 3 of 7

1 MR. GRALEWSKI: Sure, that's fine.
2 MR. BALLARD: That's fine.
3 MR. GRALEWSKI: So why don't you hold up

4 for the video camera when he said "turn to the last

5| page." That was the last page, correct, Counsel?
6 MR. BALLARD: That's correct.
7 MR, GRALEWSKI: I think that's fine unless

8]. you want to document any other way.

9 MR. BALLARD: That's fine.
10 ' MR. GRALEWSKI: Thank you, Counsel.
11 (Reporter marked Exhibit No. 131 for
12 identification.)
13 Q. BY MR. BALLARD: So you have been handed

15) were handed to me by Mr. Gralewski shortly before
16| the deposition, six photos here. Who took these
17| photos?

18 A. My attorney.

19 QO. And what is your understanding of what
20| these photos depict?

21 A. This is the Toshiba television noted in
22 the response under 1-B, and this, the last two

23/} pictures depict the CRT within that television.

24 QO. Where were these photos taken?
25 A, In my attorney's office.
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Gary Hanson Court Reparters

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Case 4:07-cv-05944-JST Document 1660-18 Filed 04/25/13 Page 4 of 7 .

possession.

Q. And you said earlier that this TV lives on
your kitchen counter?

A. Correct.

Q. So how did your TV get from your kitchen
counter to your attorney's office?

A. I brought it there.

Q. And why did you do that?

MR. GRALEWSKI: Again, you can answer the
question, but you are not to reveal any
communications with counsel.

THE WITNESS: To indicate that the

television and the monitor were still in my

Q. BY MR. BALLARD: Why was it important .to
indicate that?
MR. GRALEWSKI: Same instruction.
THE WITNESS: JI don't know.

Q. BY MR. BALLARD: When were these photos

A. Wednesday. Today's Friday. Wednesday.
This Wednesday?

Yes..

Q

A

Q. May 2nd --
A Correct.
Q

-- 2012, correct?

64

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Case 4:07-cv-05944-JST Document 1660-18 Filed 04/25/13 Page 5 of 7

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A. Correct.

Q. And when were the photos, Dell photos we
just looked at, when were those taken?

A. Same time.

Q. If you look at the last photo in this set,
what is this a photo of?

A. That is a photo of the CRT in the
television.

Q. And does this label here have any
Significance?

A. Which label?

Q. Do any of these labels have any
Significance?

A. Other than identifying the CRT, I don't
know.

Q. Can you tell me what part of this label
identifies the CRT?

A. T'm assuming the large label that has the
name "Orion" on it.

Q. What does Orion mean?

A. The manufacturer of the CRT, in my best
guess.
Q. What is that guess based on?

MR. GRALEWSKI: You can answer the

question if you have your own independent

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Case 4:07-cv-05944-JST Document 1660-18 Filed 04/25/13 Page 6 of 7

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the TVs that does have a CRT in it?

A. Because I witnessed it taken apart and saw
the CRT within.

Q. I'm talking about the -- I am not talking
about the Toshiba TV that we just talked about.
For those other TVs, the RCA TVs, have you ever
opened those to see if they have a CRT in them?

A. No, I have not.

Q. + Do you know who manufactured the CRTs that
you think are contained in those TVs?

A. No, I do not.

Q. Are you aware that there were other
manufacturers of CRTs other than the named
defendants in this case?

A. I do not know all of the manufacturers of
CRTs, no.

Q. So you're not sure whether there may have
been other manufacturers of CRTs other than the
companies listed in the complaint?

MR. GRALEWSKI: Object to the form.
Misstates testimony.
THE WITNESS: I don't know for sure.

Q. BY MR. BALLARD: Isn't it possible that
the CRT that you believe is contained in these two

RCA TVs, that that CRT was manufactured by someone

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Gary Hanson court Reporters

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‘at photos of one of the monitors, Dell monitors

who was not named as a defendant in the complaint?
MR. GRALEWSKI: Object to the form. Lacks
foundation. Calls for speculation. Compound.
You can answer.

THE WITNESS: I don't know.

Q. BY MR. BALLARD: You don't know what?

A. If it's possible that those TVs contain
other CRTs.

Q. Do you have any documentation that would

tell us who made the CRTs in those TVs?
A. No, I do not.
MR. GRALEWSKI: .And you're referring to
the two RCA TVs, correct, Counsel?
MR. BALLARD: That's correct.
MR. GRALEWSKI: Thank you.

Q. BY MR. BALLARD: What about ~- we looked

that you purchased. What about the other monitor,
have you ever opened that to see if there's a CRT
in it?

A. No, I have not.

Q. So you don't know who made the CRT in that
monitor?
A. I do not know.

Q. And you don't have any documentation that

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